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15                              UNITED STATES DISTRICT COURT

16                           NORTHERN DISTRICT OF CALIFORNIA

17                                   SAN FRANCISCO DIVISION

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19   MICHAEL KATZ-LACABE, ET AL.,                   Case No. 3-22-cv-04792-RS

20                    Plaintiffs,                   MICHAEL BURSHTEYN’S NOTICE
                                                    OF WITHDRAWAL AS COUNSEL
21          v.                                      FOR DEFENDANT ORACLE
                                                    AMERICA, INC.
22   ORACLE AMERICA, INC., a corporation
     organized under the laws of the State of       Judge: Hon. Richard Seeborg
23   Delaware,
                                                    Date Action Filed: August 19, 2022
24                    Defendant.                    SAC Filed: November 17, 2023
                                                    Trial Date: Not set
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     MICHAEL BURSHTEYN’S NOTICE OF WITHDRAWAL
     CASE NO. 3-22-CV-04792-RS
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     MICHAEL BURSHTEYN’S NOTICE OF WITHDRAWAL                                   1
     CASE NO. 3-22-CV-04792-RS
      Case 3:22-cv-04792-RS         Document 125        Filed 05/31/24      Page 3 of 3



 1           TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR COUNSEL
 2   OF RECORD:

 3           PLEASE TAKE NOTICE that pursuant to Local Rule 11-5, Defendant Oracle America,
 4   Inc. (“Oracle”) requests that Michael Burshteyn be permitted to withdraw as counsel of record for
 5   them and that he be removed from the list of counsel receiving ECF notifications in this matter.
 6   Oracle will continue to be represented in this matter by Tiffany Cheung, Christin Hill, Purvi G.
 7   Patel, Whitney O’Byrne, Erik Manukyan, Emma Burgoon, and Zachary S. Newman of Morrison
 8   & Foerster LLP and Kyle Zipes and Nargues M. Eder of Oracle. A proposed order accompanies
 9   this notice.
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     Dated: May 31, 2024                               MORRISON & FOERSTER LLP
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13
                                                       By: s/ Tiffany Cheung
14
                                                           Tiffany Cheung
15                                                         Purvi G. Patel
                                                           Christin Hill
16
                                                            Attorneys for Defendant
17                                                          Oracle America, Inc.

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     MICHAEL BURSHTEYN’S NOTICE OF WITHDRAWAL           2
     CASE NO. 3-22-CV-04792-RS
